
— As the plaintiff executed an agreement whereby she received the conveyance of the property in East Fifth street in full satisfaction of all claim for support, which agreement was not delivered to the defendant untihafter the termination of this action, the order should be modified so far as it provides for the payment of seventy-five dollars monthly as in whole or in part an allowance to the plaintiff for her support, so that the decree shall provide that the said sum shall be paid for the support of the children alone; with leave, however, to the defendant, if he be so advised, to apply at Special Term for a reduction of said sum to such an amount as is proper for the support and maintenance of the children alone; and as so modified the order is affirmed, without costs. Jenks, P. J., Burr, Thomas, Carr and Putnam, JJ., concurred.
